                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
LINNETHIA MONIQUE “NENE”                 )
LEAKES,                                  )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )
                                         )     CASE NO.:
NBCUNIVERSAL MEDIA, LLC,                 )     1:22-CV-01526-TWT-JSA
NBCUNIVERSAL, LLC, BRAVO MEDIA, )
LLC, BRAVO MEDIA CORP, TRUE              )
ENTERTAINMENT, LLC, TRUE                 )
ENTERTAINMENT, INC., TRULY               )
ORIGINAL, LLC, ANDY COHEN, an            )
individual, SHARI LEVINE, an individual, )
STEVEN WEINSTOCK, an individual,         )
LAUREN ESKELIN, an individual, and       )
DOES 1 through 25, inclusive,            )
                                         )
       Defendants.                       )
                                         )

       JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
        Plaintiff Linnethia Monique “NeNe” Leakes (“Leakes”) and Defendants

NBCUniversal Media, LLC and NBCUniversal, LLC; Bravo Media, LLC1; True




1
 Plaintiff erroneously named Bravo Media Corp as a defendant in the Complaint.
Bravo Media Corp is not now and has not ever been an entity related to or
affiliated with NBCUniversal Media, LLC, NBCUniversal, LLC or Bravo Media,
LLC.

LEGAL_US_W # 113168573.1
Entertainment, LLC2; Truly Original, LLC; Andy Cohen; Shari Levine; Steven

Weinstock; and Lauren Eskelin (together, the “Defendants”; Leakes and the

Defendants, collectively, the “Parties”), by and through their undersigned counsel,

hereby submit this Joint Stipulation of Dismissal without Prejudice.

        Pursuant to Fed R. Civ. P. 41(a)(1)(A)(ii) and 41(a)(1)(B), Leakes hereby

dismisses this action and all claims asserted by Leakes without prejudice, thereby

concluding this case before this Court at this time. All Parties consent and stipulate

to the foregoing dismissal. No party will seek recovery of costs or attorneys’ fees in

any submission to this Court.

        This 19th day of August 2022.

    By: /s/ Joe S. Habachy                By: /s/ William K Whitner
      Joe S. Habachy                      William K Whitner
      Georgia Bar No. 367735              GA Bar No. 756652
                                          PAUL HASTINGS LLP
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       habachylaw@gmail.com               Tamerlin J. Godley (admitted pro hac
                                            vice)


2
 True Entertainment, Inc. is not now and has not ever been a legal entity affiliated
with Truly Original, LLC or True Entertainment, LLC, and is not properly named
as a defendant in this action.
                                        2
LEGAL_US_W # 113168573.1
 By: /s/ David deRubertis             Lindsey C. Jackson (admitted pro hac
 David deRubertis (Admitted pro hac      vice)
 vice)                                PAUL HASTINGS LLP
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 By: /s/ Matthew R. Simpson           jennicawragg@paulhastings.com
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 Attorneys for True Entertainment,
 LLC, Truly Original, LLC, Steven
 Weinstock, and Lauren Eskelin




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                           LOCAL RULE 7.1(D) CERTIFICATE

        The undersigned hereby certifies that the foregoing has been formatted in

Times New Roman font, 14-point type, which complies with the font size and

point requirements of Local Rule 5.1.



                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this date a copy of the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send e-mail notification of such filing to all

attorneys of record.


 Dated: August 19, 2022                     By: s/ William K Whitner




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